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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

JAMES GIBSON,                                   )
                                                )
                     Plaintiff,                 )
                                                )   Case No. 19 C 4152
            v.                                  )
                                                )   Judge Sara L. Ellis
CITY OF CHICAGO, a municipal                    )
Corporation et al.,                             )   Magistrate M. David Weisman
                                                )
                     Defendants.                )

                            EXHIBITS TO
           JOINT STATEMENT OF UNDISPUTED MATERIALS FACTS


                 Exhibit # Description
                    1       House of Representatives Transcription (5/29/2008)
                    2       Police Accountability Task Force Report (4/13/2016)
                    3       City Council Substitute Resolution 2015-256
                    4       Egan Report (5/29/2008)
                    5       Goldston Report Cover Memo (11/2/1990)
                    6       Goldston Report (9/28/1990)
                    7       Police Foundation Letter to Martin (11/22/1991)
                    8       Police Foundation Memo (2/26/1992)
                    9       Police Foundation Memo (7/30/1992)
                    10      Special State's Attorney Memo
                    11      Nash Memo (8/18/2003)
                    12      Burge Sentencing Hearing (1/21/2011)
                    13      Mayor Daley Biography
                    14      Mayor Washington Biography
                    15      Mayor Sawyer Biography
                    16      Sworn Statement of Mayor Daley (6/12/2006)


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                 17    Tribune Daley Article (5/20/1983)
                 18    Press Release of Mayor Daley (7/21/2006)
                 19    August CPD Board Minutes (8/17/1989)
                 20    September CPD Board Minutes (9/14/1989)
                 21    November CPD Board Minutes (11/30/1989)
                 22    AP News Article (9/19/2018)
                 23    Planet Money Article (7/3/2020)
                 24    Mayor Emmanuel Press Release (4/14/2015)
                 25    City Council Police Torture Hearing (7/24/2007)
                 26    Alderman Moore City Council Statement (5/6/2015)
                 27    State Senator Raoul Statement (4/25/2009)
                 28    CPD Code of Ethics
                 29    Chicago Municipal Code Section 11
                 30    CPD Processing Order (1/1/1978)
                 31    CPD Civil Rights Order (5/19/1988)
                 32    Paul Carroll Deposition (9/23/2020)
                 33    CPD Pre-Service Training Program (1980)
                 34    1987 CPD Annual Report
                 35    1988 CPD Annual Report
                 36    1989 CPD Annual Report
                 37    Gibson Post-Conviction Testimony Excerpt (4/26/2016)
                 38    Lorraine Brown OPS Statement (1/5/1989)
                 39    Gibson OPS Statement (3/13/1990)
                 40    Employee Assignment Histories
                 41    Doug Johnson Letter (3/14/2007)
                 42    Gibson Clemency Petition (7/6/2011)
                 43    Gibson Deposition Vol. 2 (12/8/2021)
                 44    Gibson Deposition Vol. 3 (12/17/2021)


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                 45    TIRC Claim Form
                 46    Gibson Post-Conviction Testimony 2nd Excerpt (4/26/2016)
                 47    Gibson May Testimony (5/25/2016)
                 48    Moser Testimony (3/8/2016)
                 49    Caesar Testimony (6/15/2016)
                 50    Rusnak Testimony (7/12/2016)
                 51    Leja Testimony (4/26/2016)
                 52    Collins and O'Mara OPS Excerpt
                 53    Appellate Court Unpublished Opinion (9/3/1993)
                 54    Caesar Deposition Excerpt and Full Transcript (4/26/2022)




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